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     RISHI BHANDARI (SBN 226055)
 2   rb@mandelbhandari.com
     MANDEL BHANDARI LLP
 3   80 Pine Street, 30th Floor
     New York, NY 10007
 4   Telephone: (212) 269-5600
     Facsimile: (646) 964-6667
 5
     Attorneys for Plaintiff Yotta Technologies Inc.
 6
                                          UNITED STATES DISTRICT COURT
 7
                                         NORTHERN DISTRICT OF CALIFORNIA
 8

 9
     YOTTA TECHNOLOGIES INC.,
10                                                             Docket No: 3:24-cv-6456

11                          Plaintiff,
                                                               COMPLAINT
12              -against-
                                                               DEMAND FOR JURY TRIAL
13   EVOLVE BANCORP, INC., and
     EVOLVE BANK & TRUST,
14
                            Defendants.
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                                                                                         COMPLAINT

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 1          Plaintiff Yotta Technologies Inc. (“Yotta”) by and through its attorneys, Mandel Bhandari

 2   LLP, for its Complaint against Defendants Evolve Bank & Trust and Evolve Bancorp, Inc.

 3   (collectively “Evolve”), respectfully alleges as follows on information and belief:

 4                                       NATURE OF THE CLAIMS

 5          1.      This is a case about a bank that utterly failed in its most basic duty to its customers,

 6   misappropriating and/or misplacing tens of millions of dollars in customer funds.

 7          2.      During the relevant period, Yotta was a financial technology company (sometimes

 8   called a “fintech”). Yotta created software designed to help individuals better manage their finances

 9   and achieve better financial returns than they would receive using traditional banking products.

10          3.      Yotta is not itself a bank and does not hold customer deposits. Instead, to the extent

11   that its customers deposit money for safekeeping, those deposits go directly to regulated, FDIC

12   insured institutions like Evolve.

13          4.      To ensure that Evolve could be trusted to custody its customers’ funds, Yotta had

14   numerous, detailed communications with Evolve over the course of four years. Yotta met with

15   executives at the highest levels of Evolve’s organization, including its Chairman, Scot Lenoir, and

16   received substantial representations about Evolve’s technical skill, adherence to all applicable

17   regulations, and best-in-class compliance with responsible banking industry practices with respect

18   to the safekeeping of customer funds.

19          5.      In addition, Yotta held twice monthly compliance meetings with Evolve to identify

20   and address any customer complaints or regulatory guidance requiring corrective action. Yotta held

21   these meetings, in part, so that Evolve could bring any potential customer problems to its attention

22   expeditiously and ensure that they were properly remedied.

23          6.      Yotta also received detailed up-to-the minute financial reporting from Evolve, which

24   affirmatively represented that all customer money was carefully accounted for. Evolve would

25   provide the reporting through a system operated by Synapse Financial Technologies Inc.

26   (“Synapse”), a software company that Evolve used to connect its computers to Yotta and other

27   fintechs.

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 1           7.      Over the course of this four-year relationship, Evolve accepted and processed
 2   hundreds of millions of dollars from Yotta’s customers.
 3

 4           8.      But on or about May 11, 2024, Evolve suspended access to all monies belonging to
 5   Yotta customers.
 6           9.      Evolve also acknowledges – but does not explain – that a substantial amount of
 7   customer money is missing. In filings submitted in connection with the Synapse bankruptcy, the
 8   trustee reports a “shortfall” totaling tens of millions of dollars.
 9           10.     Where did the money go? Yotta’s investigation indicates that Evolve and Synapse
10   conspired to simply take it, in violation of responsible banking practices and basic morality.
11           11.     Long prior to the collapse of Synapse, Evolve debited customer accounts for over $25
12   million according to Synapse’s records. These transactions were never authorized by customers.
13   Evolve had no right to take this money from customers and never informed Yotta or its customers
14   that it was doing so. Although Synapse and Evolve purported to report all transactions involving
15   customer funds, they concealed these transactions from Yotta and its customers. They also inflated
16   the account balances that they reported to Yotta and its customers to make it appear as if the
17   misappropriated funds remained in customers’ accounts.
18           12.     According to Synapse’s records, Evolve and Synapse also misappropriated almost
19   $50 million in customer money in connection with “migrating” another fintech company from
20   Synapse’s software to Evolve’s software.
21           13.     Evolve and Synapse were aware of this missing money (and more) by at least
22   September of 2023. Despite this, they never told Yotta or its customers that their money was missing.
23   To the contrary, they continued to represent that all customer money was available and that Yotta’s
24   customers could safely deposit more into the financial black hole that was Evolve.
25           14.     Had Yotta known the truth about Evolve’s malfeasance, it never would have done
26   business with Evolve, and Yotta’s customers would have been spared a brutal theft at the hands of
27   this bank.
28

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             15.     Because of Evolve’s grotesque misconduct, Yotta’s business has been decimated.
 2
     Yotta’s customers are rightly enraged at the loss of their funds. Many remain unwilling to use Yotta’s
 3
     services going forward.      Yotta’s reputation in the market, once sterling, has been tarnished,
 4
     potentially beyond repair. Yotta’s banking-related revenues have evaporated and the enterprise value
 5
     of its banking business, once substantial, has dwindled to nearly nothing.
 6
             16.     Yotta brings this case to vindicate its rights against the bank whose dereliction of duty
 7
     threatens to bury Yotta’s once-promising business.
 8

 9                             THE PARTIES, JURISDICTION, AND VENUE

10

11           17.     Plaintiff Yotta Technologies Inc. is a corporation organized under the laws of

12   Delaware. Yotta has a virtual office located in California and its employees and executives work

13   remotely, including from California and New York. Upon information and belief, Yotta’s principal

14   place of business is California or New York. Either way, this Court has diversity jurisdiction over

15   this action.

16           18.     Defendant Evolve Bank & Trust is a bank organized under the laws of Arkansas with

17   locations in California. Its corporate headquarters is located at 6000 Poplar Avenue, Suite 300,

18   Memphis, Tennessee, 38119.

19           19.     Defendant Evolve Bancorp, Inc. is a bank holding company organized under the laws

20   of Arkansas whose corporate headquarters is located at 6000 Poplar Avenue, Suite 300, Memphis,

21   Tennessee, 38119.

22           20.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

23   § 1332 as the matter in controversy in this action exceeds $75,000 and the parties are residents of

24   different states.

25           21.     This Court has personal jurisdiction over Evolve because (i) of its continuous and

26   systematic contacts with California, including its locations and substantial presence in California, its

27   authorization to do business in California, its appointment of a local agent for service of process, and

28   its prior litigation in the courts of this state, (ii) it purposefully directed its activities at California,

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 1   including through its relationship and contacts with Synapse, which included numerous meetings in

 2   and contacts with California, and the subject matter of this lawsuit and Yotta’s claims arise out of

 3   and are related to that relationship and those meetings, and (iii) Evolve engaged in the tortious

 4   conduct at issue here within this state.

 5          22.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) since a substantial

 6   part of the events or omissions giving rise to the claim occurred within this district.

 7                                         STATEMENT OF FACTS

 8   Yotta and Its Business

 9          23.     Yotta was founded in 2019. At all relevant times, Yotta was a financial technology

10   company.

11          24.     Yotta developed software designed to make it fun and easy for consumers to manage

12   their finances and save money.

13          25.     In lieu of traditional interest payments, reward points, or cashback promotions,

14   Yotta’s products instead allowed its customers the opportunity to win substantial prizes. For

15   example, the Yotta Savings Account gave users “tickets” in proportion to their savings that could be

16   redeemed for entry into daily prize drawings. Similarly, an Evolve-issued Yotta MasterCard card

17   gave users “tickets” in proportion to their monthly expenditures. Some of the prizes for the daily

18   drawings were paid in cash, while others were paid in valuable consumer goods, such as a Tesla

19   Model 3.

20          26.     These so-called “prize linked savings accounts” have been recognized as a valuable

21   way of promoting personal saving by diverting money that would otherwise be spent on traditional

22   gambling. 1 Foreign governments use similar accounts to encourage people to save money. Indeed,

23   Yotta customers have received more than $20,000,000 in prizes.

24          27.     Because Yotta is not itself a bank, it cannot personally accept customer deposits or

25   issue card products. Instead Yotta partnered with regulated, FDIC insured institutions to take custody

26   of its customers’ savings and issue Yotta-branded debit and credit cards.

27   1
       See e.g., Peter Coy, A Smart Way to Turn Gambling into a Virtue, THE NEW YORK TIMES, July 28,
28   2023, available at https://www.nytimes.com/2023/07/28/opinion/gambling-prize-linked-
     savings.html.
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 1          28.     End users loved using Yotta, and by late 2023, end users had over $100 million in

 2   Yotta’s savings program.

 3   Evolve and its Business

 4          29.     Originally called “First State Bank,” Evolve was founded in 1925 in Eastern

 5   Arkansas. Now based in Memphis, Evolve is a small, full-service consumer bank with over forty

 6   locations in ten states, including California.

 7          30.     While it offers traditional banking products, such as consumer banking, mortgage

 8   origination, and SBA lending, in recent years, Evolve has sought to distinguish itself through its

 9   “Open Banking” business.

10          31.     Evolve’s “Open Banking” business, which it touts as “The Future of Banking” and

11   “powering the fintech revolution” involves partnering with fintech companies to offer new financial

12   products and create customizable user experiences. 2 As Evolve describes it:

13
                    Open banking uses technology like APIs to offer nonfinancial and
14                  financial businesses a network of financial products like accounts and
15                  transaction methods. This means third-party providers are allowed
                    access to payment products so they can design and build new user
16                  experiences. From the bank perspective, Open Banking is like extending
                    their banking charter to other companies. 3
17

18          32.     Why should a fintech like Yotta use Evolve to power its products rather than a
19
     different bank? Evolve has an answer for that too:
20
                    Why Partner With Evolve? Evolve Bank & Trust’s BaaS environment
21                  is highly secure, and is customizable and flexible to fit your business’
                    use case.
22

23          33.     Indeed, Evolve specifically touts its strong customer security and corporate
24
     compliance as a selling-point for its services:
25
                    Evolve Open Banking is committed to the safety of personal and
26                  financial information of our partners and their end users. As such, we
                    maintain our charter and status with the Federal Reserve, the central
27
     2
       See https://www.getevolved.com/openbanking/the-future-of-banking/.
28   3
       See https://www.getevolved.com/openbanking/baas-vs-open-banking/.
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 1                   banking system in the United States. We have an obligation to always
                     maintain compliance and security within our system, including regular
 2                   system audits. This obligation ensures that data is stored, and money is
                     transferred at the highest industry standard set by the Federal Reserve.
 3
                     For partners who need security and compliance solutions, we offer KYC
 4                   and KYB products and a library of best practices. These solutions offer
                     our partners the ability to verify the identity of consumer and business
 5                   end users, to reduce false account openings and mitigate fraud. KYC
                     and KYB are important starting points in creating safe financial
 6                   environments.

 7                   The Evolve Opening Banking team works diligently alongside partners
                     and regulators to ensure that compliance standards are met. Our partners
 8                   trust us with their business, and we do not take their trust for granted.
                     We have a great working relationship with regulators, and our systems
 9                   are checked regularly both by Federal regulators and external and
                     internal auditors. Our top priority is always the security of financial and
10                   personal information of both partner companies and end users. 4

11

12   Evolve Markets Itself to Yotta As a Safe Place for User Funds

13            34.    Yotta was first introduced to Evolve in October of 2019. At the time, Yotta was

14   looking for a banking partner to serve as a custodian for customer accounts.

15            35.    Meeting at a conference in Las Vegas, Nevada, Yotta’s CEO, Adam Moelis, spoke to

16   Evolve’s Vice President, Fintech Business Development Officer, Kristen Kines.                 Ms. Kines

17   described Evolve’s expertise in Open Banking and claimed that Evolve would be a valuable banking

18   partner for Yotta.

19            36.    Synapse was a software company that acted as an intermediary between banks like

20   Evolve and fintechs like Yotta.

21            37.    Synapse provided an Application Programming Interface (“API”) which allowed

22   Yotta’s software to safely and securely transmit and receive information from Evolve.

23            38.    In reliance upon Evolve’s representations that it would safeguard end user funds, on

24   February 13, 2020 Yotta entered into a contract allowing it to use Synapse’s software to interface

25   with Evolve.

26            39.    Shortly thereafter, Yotta end users began depositing their funds at Evolve.

27

28   4
         See https://www.getevolved.com/baas-security/.
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 1          40.     In lay terms, Evolve and Synapse would work together to service Yotta’s end users.

 2   Customer funds were always custodied at Evolve. Evolve’s electronic systems would process certain

 3   transactions, and Synapse would play a role in processing other transactions with funds located at

 4   Evolve. Evolve delivered a continuous data stream to California-based Synapse that was supposed

 5   to more-or-less instantaneously report on a customer-level any and all transactions that it effected.

 6   Pursuant to the parties’ agreement, from its California headquarters, Synapse combined Evolve’s

 7   data stream with its own customer transaction data and deliver the combined data to Yotta and

 8   customers. The combined data stream was supposed to include (a) each and every transaction in

 9   each and every customer’s account and (b) each customer’s current account balance so that Yotta

10   and the customer knew precisely how much money was in their account. Of course, all of the data

11   – including balance information – was supposed to be accurate because Yotta and its customers relied

12   upon the data in the same way that bank account holders rely upon similar information provided by

13   their banks.

14          41.     Yotta was not Evolve’s only fintech customer. Evolve actually held funds for many

15   fintechs. Many of those fintechs interfaced with Evolve through Synapse. Evolve commingled the

16   end user funds of all Synapse-connected fintechs in one or more accounts for the benefit of (“FBO”)

17   end users.

18   Evolve Repeatedly Represents that it is Diligently Safeguarding Yotta User Funds

19          42.     Over the next several years in numerous meetings, telephone calls, and written

20   correspondences, Evolve represented that it was carefully safeguarding Yotta’s assets.

21          43.     For example, in a call that took place in late September 2020, Moelis spoke to

22   Evolve’s Chairman, Scott Lenoir.

23          44.     In written materials sent on September 24, 2020 in advance of that call, Lenoir

24   represented that Evolve had strong compliance, risk management, and operations departments that

25   diligently guarded the assets of fintech customers. In particular, Lenoir represented that Evolve

26   “[e]nsures clients meet regulatory, compliance and risk mitigation requirements for all solutions,”

27   that Evolve “enforce[s] federally mandated regulations,” and that its technology team “[t]ediously

28   test[s] and analyze[s] solutions before going live.”

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 1          45.     Moelis had additional calls with Lenoir on April 13, 2021 and December 7, 2022, and

 2   in person meetings with Lenoir on August 24, 2021 and October 24, 2022.

 3          46.     In addition to periodic assurances from Lenoir, Yotta received regular representations

 4   from others at Evolve that user money was being carefully watched.

 5          47.     For at least several months beginning on or about December 5, 2022, Evolve and

 6   Yotta held Compliance Check-in meetings via Microsoft Teams approximately every other week.

 7          48.     These meetings were generally attended by Stephen Hogg, Evolve’s Lead Quality

 8   Assurance Specialist, and Cecilia Russell, Evolve’s Senior Vice President and Chief Compliance

 9   Officer.

10          49.     These meetings were also generally attended by, among others, Alex Gerson, Yotta’s

11   Vice President of Operations, and Sidhant Bahl, Yotta’s Head of Risk Strategy.

12          50.     In a November 16, 2022 email regarding the first such meeting, Hogg described their

13   purpose as “to provide an open line of communication between Evolve and Yotta to address and

14   resolve any present or future Compliance concerns.”

15          51.     During these weekly meetings Evolve personnel claimed to be reporting any user

16   complaints or compliance issues that they received concerning Yotta users. Many of the issues raised

17   by Evolve during these meetings were, in the scheme of things, relatively minor and inconsequential,

18   such as an individual customer complaint.

19          52.     Because (a) Evolve had specifically told Yotta that “any present or future Compliance

20   concerns” would be raised at these meetings, and (b) Evolve would regularly raise minor issues at

21   these meetings, at all relevant times, Yotta believed that Evolve – which after all is a regulated bank

22   – would disclose any and all compliance issues at these meetings. For instance, if customer funds

23   had been taken or were missing, Yotta always believed that, at the very least, Evolve would disclose

24   and address the issue at the compliance meetings. At no time did Evolve disclose during the

25   compliance meetings (or otherwise) that customer funds had been taken or were missing.

26          53.     In addition to these weekly check-ins, as discussed above, Yotta received detailed,

27   user-by-user transaction data on a continuous basis from Evolve and Synapse. Because it was

28   custodying end users’ funds, it was critical that Evolve report each and every transaction that it

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 1
     handled involving end user funds. For example, when an end user’s paycheck was direct-deposited
 2
     with Yotta, the funds would be received by Evolve, and Evolve would transmit that information to
 3
     Synapse, which would display it for Yotta and the end user.
 4
            54.     Yotta received these reports from at least April 2020 through May 2024.
 5
            55.     Evolve and Synapse represented that all of the transactions involving end user funds
 6
     that Evolve was processing and customer account balances were being accurately reported to Yotta
 7
     and its end users on an essentially real-time basis. And until that date, end users could spend or
 8
     withdraw the entire balances that were being reported for their accounts.
 9
            56.     Evolve’s legal counsel also confirmed the close relationship between Evolve and
10
     Synapse and the general presumption that users would have the ability to promptly withdraw all
11
     funds belonging to them.
12
            57.     For example, on May 11, 2023, Evolve’s counsel at Latham & Watkins LLP emailed
13
     Yotta its redlined edits to the Synapse Consumer Reserve Account Agreement. Evolve edited the
14
     agreement as follows: “This Consumer User Reserve Account Agreement (this “Agreement”)
15
     governs the non-interest bearing deposit account (the “Account”) made available to you by Synapse
16
     Financial Technologies, Inc. (“Synapse”), as a technology provider of Evolve Bank & Trust
17
     (“Bank”), a member of the Federal Deposit Insurance Corporation (the “FDIC”), in partnership with
18
     Synapse, as a technology service provider of Bank.” Sections 3 and 4 of this Agreement detailed
19
     those situations in which Evolve and Synapse could prevent a customer from withdrawing funds
20
     from an account. For instance, section 3.2 of the Agreement states that, with respect to ACH
21
     transfers, “You may only withdraw funds if you have made all the payments of the credit extended
22
     to you and your credit account is closed.” At no point did the agreement disclose that customers
23
     might not be able to withdraw their funds because Synapse or Evolve decided to take those funds for
24
     themselves or transfer them to another customer.
25
     Evolve Lies to Yotta About Missing User Funds
26

27          58.     Yotta customer funds at Evolve would generate interest, and Evolve would pay much

28   of that interest to Synapse who, in turn, would transmit significant amounts of the interest to Yotta.

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 1   In fact, Yotta and Evolve directly negotiated the interest amount that Yotta would receive. These

 2   interest payments were Yotta’s main source of revenue and would be used to fund the prizes

 3   distributed to users as well as Yotta’s operations.

 4          59.     In September of 2023, these interest payments to Yotta were suddenly suspended.

 5          60.     In emails dated September 20, 2023, September 30, 2023, and October 3, 2023 Moelis

 6   specifically asked multiple Evolve personnel, including Lenoir and Hank Word, Evolve’s President

 7   of Open Banking, why interest was not being paid.

 8          61.     On September 25, 2023, Word replied claiming that “we are addressing some

 9   contractual issues with Synapse” but promised that “this matter is being handled” and that the bank

10   would “protect end users.”

11          62.     On October 3, 2023, Lenoir replied, also claiming that “we are currently addressing

12   some contractual issues with Synapse,” but again promised that it would “protect end users” and

13   assured Yotta that it could “transition to another bank” should it or its users desire to do so.

14          63.     And on November 2, 2023, Evolve’s outside counsel, Jeffrey P. Naimon of Orrick,

15   Herrington & Sutcliffe LLP stated in a letter to Yotta’s counsel that the suspension of interest

16   payments was the result of a “contractual disagreement that has occurred between Evolve and

17   Synapse Financial Technologies, Inc.”, that “we hope to resolve our contractual dispute with them

18   in the next few weeks”, and that “the Bank remains committed to providing updates to Yotta, as

19   appropriate, regarding this situation.”

20          64.     None of these individuals disclosed any problems with the Yotta user funds Evolve

21   had in its possession.

22          65.     Indeed, Evolve and Synapse continued to purport to report each and every transaction

23   that it affected with end user funds. This supposedly reliable data feed was intended to and did assure

24   Yotta and its end users that the end users’ funds were properly custodied in the users’ Evolve

25   accounts and available for withdrawal. And indeed, Yotta customer withdrawals continued to

26   function perfectly well.

27          66.     But this was totally false.

28

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 1          67.       As Yotta would only learn later, in a letter sent to Synapse on September 25, 2023,

 2   Evolve claimed that Synapse had “materially breached” its agreement with Evolve by failing to

 3   ensure that “the balance in each FBO account equals 100% of the amount of funds Deposited by end

 4   Users in connection with such FBO account.”

 5          68.       As such, despite knowing on or before September 25, 2023 that user funds were

 6   missing, Evolve and Synapse never reported this information to Yotta and continued to report

 7   account transactions and balance info in order to assure Yotta and its users that user funds were 100%

 8   available and could be withdrawn or migrated to another bank. Evolve and Synapse continued to

 9   transmit this information despite the fact that they knew the account balance information was false

10   and the transaction information was, at the very least, incomplete.

11   Evolve Steals From Customers

12          69.       While Yotta did not know (and could not have known) at the time, Yotta’s

13   investigation has revealed      that its customers’ funds are missing because of Evolve’s own

14   misconduct.

15          70.       Beginning no later than June 2017, Evolve began taking funds from the FBO accounts

16   that commingled end user monies.

17          71.       For instance, on the following dates, Evolve debited FBO accounts for “Account

18   Analysis Charge[s]:”

19                •   January 27, 2020: $1,191,831.76

20                •   February 27, 2020: $1,049,719.31
21
                  •   March 24, 2020: $941,099.24
22
                  •   May 29, 2020: $856,224.25
23
                  •   May 29, 2020: $710,508.92
24

25                •   June 26, 2020: $436,768.58

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 2
            72.     A review of the contracts between Synapse and Evolve indicate that end users had no
 3
     obligation to pay these amounts. This is confirmed by the fact that, in July 2020, Evolve began
 4
     debiting a Synapse account titled “Evolve Fees” for the Account Analysis Charges instead of the
 5
     FBO titled for end user accounts.
 6
            73.     The Account Analysis Charges were not an isolated incident. Yotta’s investigation
 7
     indicates that Evolve misappropriated end user funds for other purposes.
 8
            74.     Evolve used a third-party service provider called TabaPay, Inc. (“TabaPay”) to
 9
     process certain payments on its and Synapse’s behalf.
10
            75.     Rather than pay the fees that TabaPay charged for these services from Synapse’s
11
     “Evolve Fees” account, Evolve debited user FBO accounts for these fees. Neither Yotta nor its users
12
     had any obligation to pay these amounts or ever consented to such debits. As of September 2023,
13
     these improper debits totaled over $13 million, according to Synapse records.
14
            76.     Recognizing its theft of end user funds, Evolve increased the required amount in a
15
     separate “reserve” account supposedly for the purpose of addressing shortfalls in customer funds.
16
            77.     In fact, in the Synapse bankruptcy, Evolve has admitted that it took reserve account
17
     funds for itself rather than return the funds improperly taken from end users. Evolve has stated that
18
     it took $5,401,777.28 on one occasion and $2,500,000 on another occasion.
19
            78.     Statements that Evolve made to the Bankruptcy Court presiding over the Synapse
20
     bankruptcy suggest that Evolve contributed $35 million of reserve funds into the customer FBO
21
     account(s) and then seemingly subsequently withdrew the exact amount or a similar amount from
22
     the FBO account(s).
23
            79.     And the problem was only going to get worse.
24
            80.     In early October of 2023, Evolve changed how one of its largest fintech customers,
25
     Mercury Technologies, Inc. (“Mercury”), connected to its systems. Rather than connect to Evolve
26
     through Synapse, as Yotta and various other fintech companies did, Evolve arranged for Mercury to
27
     connect directly to Evolve’s systems.
28

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 1           81.     Prior to this migration, according to records, Evolve held approximately $3.2 billion

 2   of Mercury customers’ funds and $500 million of other fintech customers’ funds in one or more

 3   commingled FBO accounts.

 4           82.     This migration should not have impacted the total amount of money held on behalf of

 5   Mercury and its users. But Yotta’s investigation indicates that Evolve botched the migration process,

 6   causing Mercury and/or its users to receive almost $50 million more than they were entitled to.

 7           83.     Evolve’s September 2023 correspondence with Synapse indicates that, by September

 8   2023 at the latest, it was aware that there was a deficit in all fintech accounts that connected to Evolve

 9   through Synapse. As a result, before Evolve migrated Mercury’s funds, it was perfectly aware that

10   the FBO accounts did not have sufficient funds to migrate all of the funds that were supposed to be

11   in Mercury end users’ accounts.

12           84.     However, an analysis of financial records and communications indicates that Evolve

13   migrated all of the funds that should have been held on behalf of Mercury end users without regard

14   to the shortfall. In effect, Evolve transferred Yotta end user funds to Mercury end users when it

15   forced Yotta end users to absorb the shortfall in Mercury customer funds.

16           85.     A December 21, 2023 email chain between Synapse’s CEO and Evolve’s Chief

17   Technology Officer, which copied others including Evolve’s CEO, Synapse states that there was a

18   “deficit” in end user funds. Evolve agrees that “Synapse does not have enough funds to cover end

19   user debits.” When Evolve refers to Synapse “hav[ing]” funds, it appears to be referring to a deficit

20   in Evolve FBO account(s) in which end user funds were supposed to be held. In the email chain,

21   Synapse appears to state that “Taba Offset,” “Account Analysis Offset,” and “Mercury Issue Offset”

22   are the three largest causes of the deficit.

23           86.     But again, despite the fact that Evolve and Synapse were purporting to report all

24   transactions they were conducting with Yotta end user funds and the current account balances, their

25   continuous data feed concealed the fact that Evolve was transferring Yotta end user funds to Mercury

26   end users when it conducted the Mercury migration. Neither Evolve nor Synapse ever informed

27   Yotta or its users that money had gone missing and was not available to be withdrawn. To the

28

                                                        14
                                                                                                   COMPLAINT
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 1   contrary, the account balances that they were continuously providing to Yotta and end users were

 2   falsely claiming users’ funds were being safeguarded when, in fact, they had been misappropriated.

 3           87.     Evolve planned and carried out its fraudulent scheme in California. For instance,

 4   Evolve CEO Scott Lenoir met with Synapse in California on January 22, 2018, February 27, 2019,

 5   and August 2, 2021. Evolve senior executive Hank Word met with Synapse in California on

 6   September 3, 2019, August 2, 2021, September 8, 2022, and September 9, 2022. Upon information

 7   and belief, the purpose of these meetings and other meetings that Evolve attended in California was

 8   to plan and carry out Evolve and Synapse’s fraudulent scheme.

 9   Evolve Seizes Whatever Money It Has Not Yet Stolen

10           88.     On or about May 11, 2024, Evolve suspended access to all monies belonging to Yotta

11   customers.

12           89.     Evolve provided no notice to Yotta or its customers that such a seizure was even

13   contemplated.

14           90.     Instead, Evolve sent a notice to Yotta stating as follows:

15
                     Synapse has taken the action of turning off system access for Evolve.
16                   This has further limited our visibility into activity related to your
                     program. For these reasons, and to maintain the integrity and security
17                   of end user accounts, Evolve will need to immediately freeze any
                     activity that it believes may be related to Synapse Brokerage, including
18                   but not limited to any debit or credit cards issued by Evolve.
19

20   (Emphasis added.) This was yet another misrepresentation. Evolve had known for quite a while that

21   it had taken Yotta customer funds and that it had breached the “integrity and security” of those funds.

22           91.     Since that date, Yotta customers have had no access to the over one hundred million

23   dollars in funds that they deposited with Evolve in good faith.

24           92.     Evolve also acknowledges – but does not explain – that a substantial amount of

25   customer money is missing. In filings submitted in connection with the Synapse bankruptcy, the

26   trustee reports a “shortfall” totaling tens of millions of dollars.

27

28

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 1
     Data Breaches and Regulatory Actions Expose Evolve’s Rotten Core
 2

 3          93.     If the loss of their funds was not insulting enough, Evolve soon announced that it had
 4   also been unable to safeguard user’s personal data as well.
 5          94.     On June 26, 2024 Evolve announced that it was “currently investigating a
 6   cybersecurity incident involving a known cybercriminal organization that appears to have illegally
 7   obtained and released on the dark web the data and personal information of some Evolve retail bank
 8   customers and financial technology partners’ customers.”
 9          95.     According to Evolve’s Notice of Cybersecurity Incident online posting (the
10   “Notice”), the compromised PII included individuals’ names, Social Security numbers, dates of birth,
11   account information and/or other personal information.
12          96.     Remarkably, Evolve waited to notify its users about the theft of their personal data
13   until after it had been sold to criminals on the dark web.
14          97.     Either Evolve was so pathologically incompetent that it did not detect the penetration
15   of its network and pilfering of its customers’ most sensitive secrets, or it knew about the theft and
16   chose not to tell customers, allowing criminals the ample opportunity to exploit those secrets without
17   warning.
18          98.     Either way, Evolve’s claims that its systems were “highly secure” and that user “data
19   is stored, and money is transferred at the highest industry standard set by the Federal Reserve” were
20   shown to be utterly false.
21          99.     In fact, less than two weeks earlier, on June 14, 2024, Evolve had entered into a
22   Consent Decree with state and federal bank regulators, after an investigation had “identified
23   deficiencies with respect to the Bank’s risk management and compliance with applicable laws, rules,
24   and regulations.”
25          100.    While the specific nature of the deficiencies uncovered by the regulators is not
26   identified, the Consent Decree represents an admission that Evolve’s prior representations that it
27   “[e]nsures clients meet regulatory, compliance and risk mitigation requirements for all solutions,”
28   and “enforce[s] federally mandated regulations,” was false.
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 1   Yotta Investigates the Missing Customer Funds

 2            101.    Until Evolve froze end user accounts in May 2024, Yotta and its end users believed

 3   Evolve’s repeated implicit and explicit representations that all end users funds were being

 4   safeguarded and were available for withdrawal. Before then, as explained above, Evolve failed to

 5   disclose – and affirmatively concealed – critically important material facts about Yotta’s customer

 6   accounts despite a duty to do so. Yotta could not have discovered the extent of Evolve’s malfeasance

 7   and its injuries, all of which Evolve was well aware of, with reasonable care and diligence.

 8            102.    In the wake of the April 2024 Synapse bankruptcy and the May 2024 freezing of Yotta

 9   customer accounts, in an effort to aid its end users, Yotta investigated what had happened to its users’

10   funds.

11            103.    Over the course of that investigation, Yotta communicated with high-level executives

12   from multiple businesses that were directly involved in these events. Yotta was also able to obtain

13   emails, letters, account statements, and other records.

14            104.    This Complaint is based on this information, as well as Yotta’s independent analysis

15   of that information.

16   Its Customers Fleeced, Yotta’s Business is Devastated

17            105.    Evolve’s misconduct has had a devastating effect on Yotta customers.

18            106.    Yotta has received thousands of messages from its customers, many of whom have

19   lost substantially all of their assets to Evolve’s treachery. Many Yotta customers are faced with a

20   sudden inability to pay their bills or otherwise provide for themselves.

21            107.    Many of these users are furious with Yotta, and they can hardly be blamed. Even

22   those who accept that Yotta played no role in seizing their funds and were unaware of Evolve’s

23   misconduct are unlikely to ever do business with Yotta again.

24            108.    Yotta’s reputation in the market, once sterling, has been tarnished, potentially beyond

25   repair. Yotta’s revenues have evaporated and its enterprise value, once substantial, has dwindled

26   substantially.

27            109.    With no other remedy available to it, Yotta brings this case to vindicate its rights

28   against the bank whose dereliction of duty threatens to bury Yotta’s once-promising business.

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                                                                                                  COMPLAINT
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 1

 2                                       FIRST CAUSE OF ACTION
                                                 FRAUD
 3

 4           110.    Plaintiff repeats and realleges the allegations set forth in paragraphs above as though

 5   fully set forth herein.

 6           111.    Defendant made intentional representations of fact to Plaintiff.

 7           112.    These representations included:
                     • Essentially continuous representations, from 2020 to May 11, 2024
 8                      that each and every transaction that Evolve effected was being
 9                      reported to Yotta and its end users on an essentially real-time basis;

10                   •   Essentially continuous representations, from 2020 to May 11, 2024
                         as to the essentially real-time account balances of Yotta customers;
11
                     •   Bi-weekly oral representations, from late 2022 to early 2023
12                       delivered by Evolve employees at Compliance Check-in meetings
13                       that there were no serious compliance issues or risk management
                         problems impacting the availability of Yotta user funds;
14
                     •   Written representations, delivered via email on September 24, 2020
15                       that Evolve “[e]nsures clients meet regulatory, compliance and risk
                         mitigation requirements for all solutions,” that Evolve “enforce[s]
16                       federally mandated regulations,” and that its technology team
                         “[t]ediously test[s] and analyze[s] solutions before going live;”
17

18                   •   Written representations, posted on the Evolve website that Evolve’s
                         systems are “highly secure” and that user “data is stored, and money
19                       is transferred at the highest industry standard set by the Federal
                         Reserve;”
20
                     •   Oral representations by Evolve’s Chairman Scot Lenoir on or about
21
                         September 24, 2020, April 13, 2021, August 24, 2021, October 24,
22                       2022, December 7, 2022, that Evolve had the organizational and
                         technical ability to safeguard user funds;
23
                     •   Written representations by Hank Word, Evolve’s President of Open
24                       Banking on or about September 25, 2023 that problems with
                         Synapse were merely the result of “some contractual issues with
25
                         Synapse” that were “being handled” in a manner that would “protect
26                       end users;”

27                   •   Written representations by Lenoir, on or about October 3, 2023, that
                         problems with Synapse were merely the result of “some contractual
28

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 1                      issues with Synapse,” and that Yotta could “transition to another
                        bank” should it or its users desire to do so;
 2
                    •   Written representations by Evolve’s outside counsel, Jeffrey P.
 3
                        Naimon of Orrick, Herrington & Sutcliffe LLP on or about
 4                      November 2, 2023, that problems with Synapse were merely the
                        result of “contractual disagreement that has occurred between
 5                      Evolve and Synapse Financial Technologies, Inc.” that could
                        plausibly be resolved “in the next few weeks;”
 6
                    •   Evolve’s written representation on or about May 11, 2014 that it was
 7
                        “maintain[ing] the integrity and security of end user accounts.”
 8
                    •   Evolve’s May 11, 2023 draft customer agreement’s representation
 9                      that customers could withdraw funds that they had deposited into
                        their accounts.
10

11          113.    These representations were material and Plaintiff relied on them. Plaintiff would not
12   have agreed to use Plaintiff as a banking partner or recommend that its customers entrust their assets
13   to Plaintiff absent these representations.
14          114.    These representations were false. In truth:
15

16                  •   The supposedly comprehensive continuous reporting of transactions
                        transmitted by Evolve to Yotta were false, as funds had secretly been
17                      misappropriated;
18                  •   The account balances were false and Yotta user funds were not
19                      genuinely accounted for and available from Evolve;

20                  •   There were serious compliance issues and risk management
                        problems impacting the availability of Yotta user funds;
21
                    •   Evolve did not have the organizational and technical ability to
22                      safeguard user funds;
23                  •   Evolve did not ensure that its clients met regulatory, compliance and
24                      risk mitigation requirements for all solutions, did not enforce
                        federally mandated regulations and its technology team did not
25                      tediously test and analyze solutions before going live;

26                  •   Evolve’s systems were not highly secure, user data was not stored,
                        and money was not transferred at the highest industry standard set
27                      by the Federal Reserve;
28

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                                                                                                COMPLAINT
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 1                   •   The problems with Synapse that impacted availability of interest
                         payments in September of 2023 were not the result of a “contractual
 2                       disagreement,” made it impossible for users to “transition to another
 3                       bank” and could not possibly be “resolved in a few weeks.”

 4            115.   Evolve knew that its representations were false, material, and would be relied upon

 5   by Plaintiff in deciding to use Evolve as a banking partner and trusted custodian of its customer’s

 6   money.

 7            116.   To the extent any of Evolve’s representations were not literally false, they were

 8   materially misleading and incomplete in light of Evolve’s prior statements and Evolve had a duty to

 9   correct them and/or not to use them to perpetrate a fraud by omission.

10            117.   If Plaintiff had known that Defendant was a dishonest and incompetent bank that

11   could not perform the most basic job of a financial institution (i.e. keeping track of customer money)

12   it would have immediately ceased all business with Defendant and taken steps to ensure that

13   customer funds were immediately returned.

14            118.   Plaintiff has been damaged by Defendant’s false representations.

15            119.   Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless,

16   and conducted in callous disregard of the rights of Plaintiff, entitling Plaintiff to punitive damages.

17            120.   Accordingly, the Court should award damages against Defendant for fraud in an

18   amount to be proven at trial.
                                       SECOND CAUSE OF ACTION
19                                   CONSPIRACY TO COMMIT FRAUD
20

21            121.   Plaintiff repeats and realleges the allegations set forth in paragraphs above as though
22   fully set forth herein.
23            122.   Evolve and Synapse conspired and agreed to commit fraud.
24            123.   In furtherance of the conspiracy, among other things, Evolve and Synapse (a) made
25   the misrepresentations set forth above, (b) misrepresented Yotta users’ account balances on an
26   essentially continuous basis, (c) misrepresented the transactions that had occurred in end user
27   accounts, as funds had secretly been misappropriated, and (d) misappropriated end user funds.
28            124.   Evolve’s misconduct and misappropriation injured Plaintiff.
                                                       20
                                                                                                 COMPLAINT
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 1           125.    Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless,

 2   and conducted in callous disregard of the rights of Plaintiff, entitling Plaintiff to punitive damages.

 3           126.    Accordingly, the Court should award damages against Defendant for fraud in an

 4   amount to be proven at trial.

 5
                                        THIRD CAUSE OF ACTION
 6                                   NEGLIGENT MISREPRESENTATION
 7

 8           127.    Plaintiff repeats and realleges the allegations set forth in paragraphs above as though
 9   fully set forth herein.
10           128.    Defendant owed a duty of care to Plaintiff, to use reasonable care to protect, to secure
11   its customer’s funds and to provide access to those monies, to use reasonable care in providing to
12   Plaintiff and its customers.
13           129.    Defendant had full knowledge of the types of harm that Plaintiff and its customers
14   could and would suffer if failed to act in accordance with its duty.
15           130.    Defendant made negligent representations of fact to Plaintiff, including:
16

17                   •   Essentially continuous representations, from 2020 to May 11, 2024
                         that each and every transaction that Evolve effected was being
18                       reported to Yotta and its end users on an essentially real-time basis;

19                   •   Essentially continuous representations, from 2020 to May 11, 2024
                         as to the essentially real-time account balances of Yotta customers;
20
                     •   Bi-weekly oral representations, from late 2022 to early 2023
21
                         delivered by Evolve employees at Compliance Check-in meetings
22                       that there were no serious compliance issues or risk management
                         problems impacting the availability of Yotta user funds;
23
                     •   Written representations, delivered via email on September 24, 2020
24                       that Evolve “[e]nsures clients meet regulatory, compliance and risk
                         mitigation requirements for all solutions,” that Evolve “enforce[s]
25
                         federally mandated regulations,” and that its technology team
26                       “[t]ediously test[s] and analyze[s] solutions before going live;”

27                   •   Written representations, posted on the Evolve website that Evolve’s
                         systems are “highly secure” and that user “data is stored, and money
28

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                                                                                                  COMPLAINT
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 1                      is transferred at the highest industry standard set by the Federal
                        Reserve;”
 2
                    •   Oral representations by Evolve’s Chairman Scot Lenoir on or about
 3
                        September 24, 2020, April 13, 2021, August 24, 2021, October 24,
 4                      2022, December 7, 2022, that Evolve had the organizational and
                        technical ability to safeguard user funds;
 5
                    •   Written representations by Hank Word, Evolve’s President of Open
 6                      Banking on or about September 25, 2023 that problems with
                        Synapse were merely the result of “some contractual issues with
 7
                        Synapse” that were “being handled” in a manner that would “protect
 8                      end users;”

 9                  •   Written representations by Lenoir, on or about October 3, 2023, that
                        problems with Synapse were merely the result of “some contractual
10                      issues with Synapse,” and that Yotta could “transition to another
                        bank” should it or its users desire to do so;
11

12                  •   Written representations by Evolve’s outside counsel, Jeffrey P.
                        Naimon of Orrick, Herrington & Sutcliffe LLP on or about
13                      November 2, 2023, that problems with Synapse were merely the
                        result of “contractual disagreement that has occurred between
14                      Evolve and Synapse Financial Technologies, Inc.” that could
                        plausibly be resolved “in the next few weeks;”
15

16                  •   Evolve’s written representation on or about May 11, 2014 that it was
                        “maintain[ing] the integrity and security of end user accounts.”
17
                    •   Evolve’s May 11, 2023 draft customer agreement’s representation
18                      that customers could withdraw funds that they had deposited into
                        their accounts.
19

20          131.    These representations were material.
21          132.    Defendant knew that Plaintiff and its customers to rely upon these representations and
22   intended for them to do so.
23          133.    These representations were material and Plaintiff relied on them. Plaintiff would not
24   have agreed to use Plaintiff as a banking partner or recommend that its customers entrust their assets
25   to Plaintiff absent these representations.
26          134.    These representations were false. In truth:
27

28

                                                      22
                                                                                                COMPLAINT
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 1                  •   The supposedly comprehensive continuous reporting of transactions
                        transmitted by Evolve to Yotta were false, as funds had secretly been
 2                      misappropriated;
 3
                    •   The account balances were false and Yotta user funds were not
 4                      genuinely accounted for and available from Evolve;

 5                  •   There were serious compliance issues and risk management
                        problems impacting the availability of Yotta user funds;
 6
                    •   Evolve did not have the organizational and technical ability to
 7
                        safeguard user funds;
 8
                    •   Evolve did not ensure that its clients met regulatory, compliance and
 9                      risk mitigation requirements for all solutions, did not enforce
                        federally mandated regulations and its technology team did not
10                      tediously test and analyze solutions before going live;
11                  •   Evolve’s systems were not highly secure, user data was not stored,
12                      and money was not transferred at the highest industry standard set
                        by the Federal Reserve;
13
                    •   The problems with Synapse that impacted availability of interest
14                      payments in September of 2023 were not the result of a “contractual
                        disagreement,” made it impossible for users to “transition to another
15                      bank” and could not possibly be “resolved in a few weeks.”
16

17          135.    To the extent any of Evolve’s representations were not literally false, they were
18   materially misleading and incomplete in light of Evolve’s prior statements and Evolve had a duty to
19   correct them and/or not to use them to perpetrate a fraud by omission.
20          136.    Evolve lacked reasonable grounds for believing that its representations were true and
21   failed to exercise reasonable care in ascertaining whether the representations were accurate.
22          137.    If Plaintiff had known that Defendant was a dishonest and incompetent bank that
23   could not perform the most basic job of a financial institution (i.e. keeping track of customer money)
24   it would have immediately ceased all business with Defendant and taken steps to ensure that
25   customer funds were immediately returned.
26          138.    Plaintiff has been damaged by Defendant’s false representations.
27          139.    Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless,
28   and conducted in callous disregard of the rights of Plaintiff, entitling Plaintiff to punitive damages.
                                                       23
                                                                                                 COMPLAINT
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 1           140.    Accordingly, the Court should award damages against Defendant for fraud in an

 2   amount to be proven at trial.
                                      FOURTH CAUSE OF ACTION
 3                             NEGLIGENT INTERFERENCE WITH CONTRACT
 4

 5           141.    Plaintiff repeats and realleges the allegations set forth in paragraphs above as though
 6   fully set forth herein.
 7           142.    Plaintiff had a contractual relationship with its customers that had the probability of
 8   yielding future economic benefits. At the time that Defendant froze its customers’ accounts in May
 9   2024, Plaintiff’s customers should have had over $100 million in assets with Plaintiff. Yotta had a
10   right to receive interest on each and every dollar of such assets.
11           143.    Defendant was not a party to Plaintiff’s contracts with its customers.
12           144.    Defendant had full knowledge of Plaintiff’s contracts with its customers.
13           145.    Defendant owed a duty of care to Plaintiff, to use reasonable care to protect and secure
14   its customer’s funds and to provide access to those monies.
15           146.    Defendant had full knowledge of the types of harm that Plaintiff and its customers
16   could and would suffer if failed to act in accordance with its duty.
17           147.    Defendant breached its duty by:
18
19                   •   Failing to keep accurate records of customer accounts;
20                   •   Knowingly transmitting inaccurate records of customer accounts to
21                       Yotta and to customers;

22                   •   Improperly debiting customer accounts for tens of millions of
                         dollars in unauthorized charges;
23
                     •   Seizing customer accounts and preventing customers from
24                       accessing funds belonging to them for (at least) months at a time;
25
                     •   Failing to inform Yotta about drastic failures in accounting and risk
26                       management once they came to light;

27                   •   Continuing to hold and accept user funds after becoming aware of
                         catastrophic failures in accounting and risk management, thereby
28                       increasing the consequences of the ultimate collapse.

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                                                                                                 COMPLAINT
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 1
             148.    Defendant’s interference with Plaintiff’s contracts with its customers caused
 2
     substantial damage to Plaintiff’s business.
 3
             149.    Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless,
 4
     and conducted in callous disregard of the rights of Plaintiff, entitling Plaintiff to punitive damages.
 5
             150.    Accordingly, the Court should award damages against Defendant for negligence in
 6
     an amount to be proven at trial.
 7

 8                                       FIFTH CAUSE OF ACTION
                                              NEGLIGENCE
 9
10           151.    Plaintiff repeats and realleges the allegations set forth in paragraphs above as though
11   fully set forth herein.
12           152.    Defendant owed a duty of care to Plaintiff, to use reasonable care to protect and secure
13   its customer’s funds and to provide access to those monies.
14           153.    Defendant had full knowledge of the types of harm that Plaintiff and its customers
15   could and would suffer if failed to act in accordance with its duty.
16           154.    Defendant breached its duty by:
17

18                   •   Failing to keep accurate records of customer accounts;

19                   •   Knowingly transmitting inaccurate records of customer accounts to
                         Yotta and to customers;
20
                     •   Improperly debiting customer accounts for tens of millions of
21                       dollars in unauthorized charges;
22
                     •   Seizing customer accounts and preventing customers from
23                       accessing funds belonging to them for (at least) months at a time;

24                   •   Failing to inform Yotta about drastic failures in accounting and risk
                         management once they came to light;
25
                     •   Continuing to hold and accept user funds after becoming aware of
26
                         catastrophic failures in accounting and risk management, thereby
27                       increasing the consequences of the ultimate collapse.

28
             155.    These breaches caused substantial damage to Plaintiff’s business.
                                                       25
                                                                                                 COMPLAINT
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 1           156.    Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless,

 2   and conducted in callous disregard of the rights of Plaintiff, entitling Plaintiff to punitive damages.

 3           157.    Accordingly, the Court should award damages against Defendant for negligence in

 4   an amount to be proven at trial.
                                SIXTH CAUSE OF ACTION
 5          VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW (“CA UCL”)
                           (Ca. Bus. & Prof. Code §§ 17200, et seq.)
 6

 7           158.    Plaintiff repeats and realleges the allegations set forth in paragraphs above as though

 8   fully set forth herein.

 9           159.    Defendant is subject to the CA UCL. The CA UCL provides, in pertinent part:

10   “Unfair competition shall mean and include unlawful, unfair or fraudulent business practices and

11   unfair, deceptive, untrue or misleading advertising ….”

12           160.    Evolve violated the “fraudulent” prong of the CA UCL as described in Plaintiff’s

13   First and Second Causes of Action.

14           161.    Evolve violated the “unlawful” prong of the CA UCL as described in Plaintiff’s

15   First, Second, Third, Fourth and Fifth Causes of Action, and by violating (i) the program,

16   recordkeeping and reporting, and compliance requirements of the Bank Secrecy Act (31 U.S.C. §

17   5311 et seq.), as well as the rules and regulations issued thereunder by the U.S. Department of the

18   Treasury (31 C.F.R. Chapter X), the requirements of Regulation H of the Board of Governors of

19   the Federal Reserve System (12 C.F.R. §§ 208.62 and 208.63), and other industry standards set by

20   the Department of the Treasury and the Board of Governors; and (ii) the California Code of

21   Regulations governing banks and trust companies, including Cal. Code Regs. tit. 10 § 10.3

22   governing Unsafe and Unsound Acts.

23           162.    Specifically, Evolve:

24
                     •   Transmitted to Yotta supposedly comprehensive continuous
25
                         reporting of transactions that were false, since funds had secretly
26                       been misappropriated;

27                   •   Transmitted to Yotta account balances were false, and Yotta user
                         funds were not genuinely accounted for and available from Evolve;
28

                                                       26
                                                                                                 COMPLAINT
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 1                   •   Had serious compliance issues and risk management problems
                         impacting the availability of Yotta user funds;
 2

 3                   •   Did not have the organizational and technical ability to safeguard
                         user funds as it claimed to the public and Yotta;
 4
                     •   Did not ensure that its clients met regulatory, compliance and risk
 5                       mitigation requirements for all solutions, did not enforce federally
                         mandated regulations and its technology team did not tediously test
 6                       and analyze solutions before going live;
 7
                     •   Had systems that were not highly secure, user data was not stored,
 8                       and money was not transferred at the highest industry standard set
                         by the Federal Reserve; and
 9
                     •   Had problems with Synapse that impacted availability of interest
10                       payments in September 2023 that were not the result of a
                         “contractual disagreement,” made it impossible for users to
11
                         “transition to another bank” and could not possibly be “resolved in
12                       a few weeks.”

13           163.    Yotta has suffered lost money or property as a result of Evolve’s CA UCL
14   violations because it (i) would have immediately ceased all business with Evolve and taken steps
15   to ensure that customer funds were immediately returned had it known the facts about Evolve’s
16   fraudulent, unlawful and woefully deficient systems and practices, and (ii) paid a price premium
17   due to Evolve’s false representations and omissions about its systems and practices.
18           164.    Under the CA UCL, Plaintiff is entitled to all damages proximately caused by
19   Defendant’s conduct.
                             SEVENTH CAUSE OF ACTION
20            RESTITUTION BASED ON QUASI-CONTRACT/UNJUST ENRICHMENT
                              (Ca. Civil Code §§ 1750, et seq.)
21

22           165.    Plaintiff repeats and realleges the allegations set forth in paragraphs above as though
23   fully set forth herein.
24           166.    Plaintiff conferred benefits on Defendant in deciding to use Evolve as a banking
25   partner and trusted custodian of its customer’s money.
26           167.    Defendant has knowledge of such benefits.
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                                                                                                 COMPLAINT
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 1          168.    Evolve has been unjustly enriched in retaining the revenues derived from Yotta

 2   deciding to use Evolve as a banking partner and trusted custodian of its customer’s money and by

 3   retaining Yotta’s customers’ money.

 4          169.    Retention of those moneys under these circumstances is unjust and inequitable

 5   because, as set forth above, Evolve falsely and misleadingly represented that it had the

 6   organizational and technical ability to safeguard user funds and was adequately doing so.

 7          170.    These misrepresentations and omissions caused injuries to Yotta because it would

 8   not have used Evolve as a banking partner and trusted custodian of its customer’s money had the

 9   true facts been known.

10          171.    Because Defendant’s retention of the non-gratuitous benefits conferred on it by

11   Plaintiff is unjust and inequitable, Defendant ought to pay restitution to Plaintiff for its unjust

12   enrichment.

13          172.    As a direct and proximate result of Defendant’s unjust enrichment, Plaintiff is

14   entitled to restitution in an amount to be proven at trial.

15
                                            PRAYER FOR RELIEF
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17          WHEREFORE Plaintiff prays that this Court:

18          A.      Award nominal, compensatory, liquidated, statutory, and punitive damages to

19   Plaintiff in an amount to be determined at trial;

20          B.      Award litigation costs and expenses to Plaintiff, including, but not limited to,

21   reasonable attorneys’ fees;

22          C.      Award any additional and further relief as this Court may deem just and proper.

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                                                                                                   COMPLAINT
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 2                                      JURY TRIAL DEMAND

 3       Plaintiff hereby demands a trial by jury on all issues so triable.

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     DATED:     New York, New York
 5              September 13, 2024
                                        By:                    /s/ Rishi Bhandari
 6                                                             Rishi Bhandari
 7                                                             MANDEL BHANDARI LLP
                                                               Rishi Bhandari
 8                                                             80 Pine Street, 33rd Floor
                                                               New York, NY 10005
 9                                                             T: (212) 269-5600
                                                               F: (646) 964-6667
10                                                             rb@mandelbhandari.com
11                                                             Attorneys for Plaintiff Yotta Technologies
                                                               Inc.
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